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3
4                            UNITED STATES DISTRICT COURT
5                        EASTERN DISTRICT OF WASHINGTON
6
7    UNITED STATES OF AMERICA,                         No. 1:21-CR-2032-SMJ
8                        Plaintiff,
9    vs.                                               ACKNOWLEDGMENT OF NOTICE
                                                       OF RIGHTS - INDICTMENT
10   Thomas Alex Morrison, Jr.,
11                 Defendant’s Printed Name.
12         The undersigned defendant does hereby acknowledge: I appeared on this date
13   and was advised as follows:
14
           1. Of the charge or charges placed against me, and I acknowledge receipt of
15            a copy of the:
16                       Ƒ
                         ✔   Indictment
17                       Ƒ   First/Second/Third/Fourth Superseding Indictment
18
           2. Of the maximum penalty provided by law;
19
20         3. My right to remain silent at all times and if I make a statement it can be
              used against me;
21
22         4. My right to retain my own counsel; and if I am without funds, to have
23            counsel appointed to represent me in this matter;

24         5. My right to a jury trial before a United States District Judge, to be
25            confronted by the United States’ witnesses and to have witnesses attend
              on my behalf;
26
27         6. My right to a bail hearing, if I am in custody;
28

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1         7. My right, if I am not a United States citizen, to request a Government
             attorney or law enforcement official notify my country’s consulate of my
2            arrest or detention.
3
4
     _______________________________            Date: __________________________
                                                            09-01-2021
5    Interpreter Signature
6
7
     _______________________________            ______________________________
                                                                    L. Faviola Gutierrez
8    Interpreter Printed Name                   Defendant Signature
9                                                 I reviewed this document with
                                                  Mr. Morrison telephonically on
10                                                September 01, 2021. He consents
                                                  on me signing on his behalf.
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